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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)
                                                                           Order Filed on February 26, 2021
Andrew T. Archer, Esquire                                                  by Clerk
175 Richey Avenue                                                          U.S. Bankruptcy Court
Collingswood, NJ 08107                                                     District of New Jersey

(856) 963-5000
Attorney for Debtor(s)
005272008




In Re:
                                                               Case No.:             20-23476
                                                                               ____________________
Peter J. Orlando,
                                                               Chapter:                     13

                                                  Debtor(s).   Judge:           Christine M. Gravelle
                                                                               ____________________



                          ORDER ON MOTION FOR AUTHORIZATION
                    TO ENTER INTO FINAL LOAN MODIFICATION AGREEMENT
                                       (CHAPTER 13)


              The relief set forth on the following page is ORDERED.




 DATED: February 26, 2021
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        The Court having reviewed the Motion for Authorization to Enter into Final Loan Modification
                   February 11, 2021
Agreement filed on _____________________,            second
                                          as to the ___________________ mortgage [enter first,
second, third, etc.] concerning real property located at
104 Broadway, Freehold, NJ 07728
_________________________________________________, and the Court having considered any
objections filed to such motion, it is hereby ORDERED that:

                The debtor is authorized to enter into the final loan modification agreement.

         1)        The loan modification must be fully executed no later than 14 days from the date of this
order. If it is not, the secured creditor, within 14 days thereafter, must file with the Court and serve on the
debtor, debtor’s attorney, if any, and the standing trustee a Certification indicating why the agreement was
not fully executed. A response by the debtor, if any, must be filed and served within 7 days of the filed
date of the secured creditor’s Certification; and

         2)      Upon the filing of the Certification required above, and absent a response from the
debtor, the standing trustee may disburse to the secured creditor all funds held or reserved relating to its
claim. Absent the filing of the Certification within the time frame set forth above, the standing trustee will
disburse funds on hand to other creditors pursuant to the provisions of the confirmed Plan and any proof
of claim filed in this case with respect to the mortgage is deemed modified and incorporated into the Loan
Modification Agreement; and

        3)       Unless the debtor’s Plan has been confirmed with 100% paid to unsecured creditors, the
debtor must file a Modified Chapter 13 Plan and Motions within 14 days of consummation of the loan
modification. If the loan modification results in material changes in the debtor’s expenses, the debtor
must also file amended Schedules I and J within 14 days of the date of this Order; and

        4)       Check one:

                  There is no order requiring the debtor to cure post-petition arrears through the Plan; or

                  Post-petition arrears are capitalized into the loan modification agreement, and the
Order filed on _________________ requiring the Standing Trustee to make payments based on the
arrearage is vacated as of the date of this order; or

                 Post-petition arrears have not been capitalized into the loan modification agreement,
and the Standing Trustee will continue to make payments to the secured creditor based on the Order filed
on ______________; and

        5)       If fees and costs related to loss mitigation/loan modification are sought by the debtor’s
attorney, an Application for Compensation in compliance with D.N.J. LBR 2016-1 must be filed.

         The Motion for Authorization to Enter into Final Loan Modification Agreement is denied.

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